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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW HAMPSHIRE


Wayne J. Jewell

              v.
                                                         Case No. 11-cv-324-SM
United States of America




                                     JUDGMENT


       In accordance with the Order of Judge Steven J. McAuliffe entered on February 22, 2013,

granting the defendant's Motion for Summary Judgment, judgment is hereby entered.




                                                  By the Court,

                                                     /s/ James R. Starr

                                                  James R. Starr
                                                  Clerk of Court


Date: February 25, 2013


cc:   Wayne J. Jewell, pro se
      T. David Plourde, AUSA
